Case 2:21-cv-14223-JEM Document 8-1 Entered on FLSD Docket 06/21/2021 Page 1 of 1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither ep ace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference 0 the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS DEFENDANTS
Maikel Castillo Sanchez ABC Professional Tree Services, Inc.

JS 44 (Rev. 10/20) FLSD Revised 02/12/2021

(b) County of Residence of First Listed Plaintiff Highlands County

County of Residence of First Listed Defendant Highlands County
(EXCEPT IN U.S. PLAINTIFF CASES)

(IN U.S. PLAINTIFF CASES ONL Y)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attorneys (/f Known)

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number)

Remer & Georges-Pierre, PLLC. 44 West Flagler Street Suite 2200 Mi

(d) Check County Where Action Arose: [1] MIAMI-DADE OO] MonRoE O BROWARD [PALM BEACH [J MARTIN (ST. LUCIE CUINDIANRIVER 0 OKEECHOBEE fal HIGHLANDS

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)

(For Diversity Cases Only) and One Box for Defendant)

OO! US. Govemment 03 Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State 1 (11 Incorporated or Principal Place O4 4
of Business In This State

C] 2. US. Government o4 Diversity Citizen of Another State O02 CJ 2 Incorporated and Principal Place Os 5

Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject ofa Eis [C1] 3 Foreign Nation Oe 6
Foreign Country

IV. NATURE OF SUIT (Place an "X” in One Box Only) Click here for: Nature of Suit Code Descriptions == Gs =

CONTRACT — TORTS © _ FORFEITURE/PENALTY BANKRUPTCY _ OUBER STATUTES

(J 110 Insurance PERSONAL INJURY PERSONAL INJURY 0 625 Drug Related Seizure C) 422 Appeal 28 USC 158 375 False Claims Act

(120 Marine (310 Airplane C1 365 Personal Injury - of Property 21 USC 881 [J 423 Withdrawal 376 Qui Tam (31 USC

L] 130 Miller Act (1315 Airplane Product Product Liability LJ 690 Other 28 USC 157 3729 (a))

[] 140 Negotiable Instrument Liability 0 367 Health Care/ 400 State Reapportionment

C] 150 Recovery of Overpayment (320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights 430 Banks and Banking

(1151 Medicare Act C1 330 Federal Employers’ Product Liability CI 830 Patent Z 450 Commerce

(7 152 Recovery of Defaulted Liability LC] 368 Asbestos Personal «Net Dug Applicaton 460 Deportation

c Injury Product Liability 840 Trademark 70 Racketeer Influenced and

Student Loans C340 Marine Sey peta lade Secrets oO nfupt Ofesiniy Mae a
(Excl. Veterans) 1345 Marine Product LABOR SOCIAL SECURITY 480 Consumer Credit

C153 Recovery of Overpayment

of Veteran’s Benefits
CJ 160 Stockholders’ Suits

Liability
(1 350 Motor Vehicle
(1355 Motor Vehicle

PERSONAL PROPERTY

(1 370 Other Fraud
1 371 Truth in Lending

m 710 Fair Labor Standards

Act

0 720 Labor/Memt. Relations

C1 861 HIA (1395¢6)

C) 862 Black Lung (923)
0 863 DIWC/DIWW (405(g))

(15 USC 1681 or 1692)
485 Telephone Consumer
Protection Act (TCPA)
490 Cable/Sat TV

850 Securities/Commodities/

(J 190 Other Contract Product Liability CO 380 Other Personal 1 740 Railway Labor Act OO 864 SSID Title XVI Exchange
(1195 Contract Product Liability (1 360 Other Personal Property Damage 0751 Family and Medical OO 865 RSI (405(g)) 890 Other Statutory Actions
C1] 196 Franchise Injury C1 385 Property Damage Leave Act 891 Agricultural Acts

C1 362 Personal Injury -
_Med. Malpractice

Product Liability

1 790 Other Labor Litigation

1 791 Empl. Ret, Inc.

DO OOOO 0O0O0 © ooooo og.

893 Environmental Matters
895 Freedom of Information

REAL PROPERTY _ CVIL RIGHTS __ PRISONER PETITIONS” Security Act | FEDERAL TAX SUITS Act
(J 210 Land Condemnation C1) 440 Other Civil Rights Habeas Corpus: UO 870 Taxes (U.S. Plaintiff 896 Arbitration
[1 220 Foreclosure 01441 Voting OO 463 Alien Detainee or Bete) setigc eS castseative wears
[1 230 Rent Lease & Ejectment 442 Employment O cee to Vacate (= as ird Party 26 U cr Ageia) Dea 8
443 Housin ' 950 Constitutionality of State
Cy 240 Torts to Land O Acar dons Other: : Statutes
(2) 245 Tort Product Liability (445 Amer. w/Disabilities - (J 530 General _.. IMMIGRATION :
C1 290 All Other Real Property Employment CI 535 Death Penalty C) 462 Naturalization Application
(1 446 Amer. w/Disabilities - (1 540 Mandamus & Other LD 465 Other Immigration

Other
C448 Education

0 550 Civil Rights

C1 555 Prison Condition
560 Civil Detainee —

1 Conditions of

Actions

 

Confinement

V. ORIGIN (Place an “X” in One Box Onby) O
% igi a % i 5 Transferred from 6 Multidistrict 7 en
Beeline poms O3 ee i O 4 Aeustated O> another district Litigation O Appeal us O18 RSE ae Remanded from

Court below) Reopened (specify) Transfer District Judge Litigation Appellate Court

from Magistrate —_ Direct
ludgment File

VI, RELATED/ (See instructions): a) Re-filed Case OYES mNO b) Related Cases GYES ONO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
Florida Civil Rights Act of 1992 (FCRA) Fla, Stat. 760.01, et seq.
LENGTH OF TRIAL via days estimated (for both sides to try entire case)

CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P. 23

VU. CAUSE OF ACTION

VIL. REQUESTED IN

DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT:

ao? 4 JURY DEMAND: Yes _ [No
ae
‘ATTORNEY/OFj iS

JUDGE MAG JUDGE

 

    

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FOR OFFICE USE ONLY : RECEIPT # AMOUNT

 
